           Case 2:05-cr-00334-RSL       Document 161     Filed 05/31/06   Page 1 of 3



 1                                                         Judge Lasnik

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 8                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 9                                  AT SEATTLE

10
     UNITED STATES OF AMERICA,                      )   NO.   CR05-334RSL
11                                                  )
                                Plaintiff,          )
12                                                  )   ORDER GRANTING UNITED
                         v.                         )   STATES’ APPLICATION
13                                                  )   FOR A PROTECTIVE ORDER
     RAJINDER SINGH JOHAL,                          )   TO MAINTAIN CUSTODY
14        a/k/a Roger Johal,                        )   OF PROPERTY
     LAKHWINDER SINGH JOHAL                         )
15        a/k/a “Lucky,”                            )
     MANINDER SINGH KHATKAR,                        )
16        a/k/a “Dave,”                             )
     DINDYAL SINGH JASWAL,                          )
17        a/k/a “Dean,”                             )
                                                    )
18                    Defendants.                   )
     _____________________________________          )
19
     This matter comes before the Court upon motion of the United States for a protective
20
     order, pursuant to 18 U.S.C. § 983(a)(3)(B)(ii) and 21 U.S.C. § 853(e)(1)(A), to
21
     maintain custody of certain property named for forfeiture in the Indictment and First
22
     Bill of Particulars Re: Forfeiture filed in this matter. Having reviewed the United
23
     States’ motion, the Court finds:
24
             The property to which this order refers (“the property”) is as follows:
25
                    1. $90,508.00 in United States funds, representing the amount
26                        of currency involved in the offense alleged in Count Two of
                          the Indictment, seized by federal agents on or about May 7,
27                        2005;
28

     ORDER GRANTING UNITED STATES’ APPLICATION FOR A
     PROTECTIVE ORDER TO MAINTAIN CUSTODY OF PROPERTY- 1                       UNITED STATES ATTORNEY
     CR05-334RSL - U.S. v. RAJINDER SIHGH JOHAL, et al.                       700 S
                                                                                  TEWART S TREET, S 5220
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                                                                                     (206) 553-7970
           Case 2:05-cr-00334-RSL        Document 161       Filed 05/31/06    Page 2 of 3



 1                 2.     $56,760.00 in United States funds, seized by federal agents
                          pursuant to a federal search warrant executed at 24204-135th
 2                        Avenue SW, Kent, Washington, on December 7, 2005;
 3                 3.     2004 Hummer, Washington license 654RZW, or any cash bond
                          posted in lieu of this vehicle; and
 4
                   4.     2003 BMW M3 Convertible, Red, Washington license 663RQC.
 5

 6          The property has been named in the Indictment and First Bill of Particulars Re:
 7   Forfeiture in this case as subject to forfeiture. The property is currently in the custody
 8   of the United States Drug Enforcement Administration and the Customs and Border
 9   Protection, and is subject to administrative forfeiture notice and claim proceedings
10   under 18 U.S.C. § 983.
11          The United States is entitled to a protective order pursuant to 21 U.S.C. §
12   853(e)(1)(A) based on the fact that the property is named for forfeiture in the
13   Indictment and First Bill of Particulars Re: Forfeiture herein which contains the
14   allegation that, upon conviction, the property is subject to forfeiture. It is therefore
15          ORDERED AND ADJUDGED:
16          1. The United States, motion for a protective order is GRANTED.
17          2. The property identified above, shall remain in the custody of the United
18   States Drug Enforcement Administration and the Customs and Border Protection,
19   pending further order of this Court.
20   \\
21   \\
22   \\
23   \\
24   \\
25   \\
26   \\
27   \\
28   \\
     ORDER GRANTING UNITED STATES’ APPLICATION FOR A
     PROTECTIVE ORDER TO MAINTAIN CUSTODY OF PROPERTY- 2                          UNITED STATES ATTORNEY
     CR05-334RSL - U.S. v. RAJINDER SIHGH JOHAL, et al.                          700 S     S
                                                                                      TEWART     ,S
                                                                                               TREET 5220
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                                                                                          (206) 553-7970
           Case 2:05-cr-00334-RSL       Document 161     Filed 05/31/06      Page 3 of 3



 1         3. The Clerk is Ordered to send copies of this Order to counsel for all parties of
 2   record.
 3         Dated this 31st day of May, 2006.
 4

 5                                                  A
                                                    Robert S. Lasnik
 6
                                                    United States District Judge
 7   Presented by:


 8

 9
      s/Richard E. Cohen

10   RICHARD E. COHEN
     Assistant United States Attorney
11

12

13    s/Richard E. Cohen for Sarah Vogel
     SARAH VOGEL
14   Assistant United States Attorney

15

16
      s/Richard E. Cohen for John Lulejian
17   JOHN LULEJIAN
     Assistant United States Attorney
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     ORDER GRANTING UNITED STATES’ APPLICATION FOR A
     PROTECTIVE ORDER TO MAINTAIN CUSTODY OF PROPERTY- 3                         UNITED STATES ATTORNEY
     CR05-334RSL - U.S. v. RAJINDER SIHGH JOHAL, et al.                        S
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